                 Case 6:20-cv-00660-JDK Document 8 Filed 12/29/20 Page 1 of 2 PageID #: 97
                                                                            Revised: 9/3/2015
                                             UNITED STATES DISTRICT COURT
                                              EASTERN DISTRICT OF TEXAS
By Belinda Saenz at 2:49 pm, Dec 29, 2020          __________DIVISION
                                                   Beaumont
                                          APPLICATION TO APPEAR PRO HAC VICE



          1.This application is being made for the following: Case #__________________________________
                                                                       6:20-cv-00660
          Style/Parties:________________________________________________________________________
                         Gohmert et al. v. Pence
          2. Applicant is representing the following party/ies: __________________________________________
                                                                Pro se (I am a lawyer representing myself pro se; wish to file documen
          3.Applicant was admitted to practice in __________
                                                    Texas       (state) on _____________________
                                                                           11/30/1981                   (date).
          4. Applicant is in good standing and is otherwise eligible to practice law before this court.
          5. Applicant is not currently suspended or disbarred in any other court.
          6. Applicant has has not had an application for admission to practice before another court denied (please
          circle appropriate language). If so, give complete information on a separate page.
          7. Applicant has has not ever had the privilege to practice before another court suspended (please circle).
          If so, give complete information on a separate page.
          8. Applicant has has not been disciplined by a court or Bar Association or committee thereof that would
          reflect unfavorably upon applicant’s conduct, competency or fitness as a member of the Bar (please
          circle). If so, give complete information on a separate page.
          9. Describe in detail on a separate page any charges, arrests or convictions for criminal offense(s) filed
          against you. Omit minor traffic offenses and misdemeanor offenses committed prior to age 18. (See Page 3)
          10. There are no pending grievances or criminal matters pending against the applicant.
          11. Applicant has been admitted to practice in the following courts:
          ______________________________________________________________________________
           Southern, and Northern and Western (admissions in the N and W Districts may have lapsed; rarely appear there)
          12. Applicant has read and will comply with the Local Rules of the Eastern District of Texas, including
          Rule AT-3, the “Standards of Practice to be Observed by Attorneys.”
          13. Applicant understands that he/she is being admitted for the limited purpose of appearing in the case
          specified above only.
          Application Oath:
                   I, __________________________________________do
                       Timothy P. Dowling                                      solemnly swear (or affirm) that the
          above information is true; that I will discharge the duties of attorney and counselor of this court faithfully;
          that I will demean myself uprightly under the law and the highest ethics of our profession; and that I will
          support and defend the Constitution of the United States.

          Date _______________
                12/29/2020                                    Timothy P. Dowling
                                                    Signature __________________________________ (/s/Signature)




                              Application Continued on Page 2
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                                UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TEXAS
                                  APPLICATION TO APPEAR PRO HAC VICE (Continued)



                                                   Name (please print) _____________________________________
                                                                        Timothy P Dowling
                                                   Bar Number /State______________________________________
                                                                       06083900
                                                   Firm Name:       ________________________________________
                                                                     Appearing pro se
                                                   Address/P.O. Box: ____________________________________
                                                                         8017 Villefranche Drive
                                                   City/State/Zip: _________________________________________
                                                                    Corpus Christi, TX 78414
                                                   Telephone #: _________________________________________
                                                                   (361)960-3135
                                                   Fax #: ______________________________________________
                                                            None
                                                   E-mail Address: ________________________________________
                                                                     Relampago@aol.com
                                                   Secondary E-Mail Address: _______________________________
                                                                                Relampago25@gmail.com

                                                                            12/29/2020
         This application has been approved for the court on: _______________________________________




                                                                       David A. O'Toole, Clerk
                                                                       U.S. District Court, Eastern District of Texas



                                                                       By _______________________________________
                                                                       Deputy Clerk




Application Instructions
Complete page 1 and 2 of this Application and Email to phv@txed.uscourts.gov for approval. Once
approved, the clerk will email to you your new Login and   Password so that you will be able to
electronically file your application and pay the $100 fee on    line. If you already have a login and
password, you will still need to wait for approval email   from the clerk before filing your                   Email Application
electronic application.    For Complete Instructions please visit the website
http://www.txed.uscourts.gov/
